                         CLERK'S COURTROOM MINUTE SHEET - CRIMINAL - MAGISTRATE JUDGE

UNITED STATES OF AMERICA

v.                                                                                                        Case No: 19-mj-5105-ADM
                                                                                                             AUSA: Anthony Mattivi
Jarrett W. Smith                                                                                             Defendant: Tom Bartee
 JUDGE:                            James P. O’Hara                    DATE: 9/23/19

 DEPUTY CLERK:                     Sarah Spegal                       FTR: 1:31

 INTERPRETER:                                                         PRETRIAL/PROBATION: AMANDA
                                                                      HUDSON

Length of Hearing:9   Min(s)                                                                         Location:   Kansas City, Kansas
Hearing Concluded:       (x) Yes (   ) No

                                                            PROCEEDINGS
(X )      Initial appearance                (   )    Initial Revocation Hearing       (   )   Bond Hearing
( )       Identity Hearing                  (   )    Held      ( )     Waived         (   )   Bond Revocation Hearing
( )       Preliminary Hearing               (   )    Held      ( )     Waived         (   )   Arraignment
( )       Detention Hearing                 (   )    Held      ( )     Waived
( )       Scheduling Conference             (   )    Held      ( )     Waived

( )       Interpreter                       ( )     Sworn                            ( )     Previously sworn
(X )      Charges and penalties explained to defendant
(X )      Defendant placed under oath
(X )      Counsel appointed-FPD                            ( )      At defendant’s expense
(X )      Constitutional rights explained           ( )    Felony           ( )        Misdemeanor
( )       Defendant declined to waive indictment ( )       Will be presented by next Grand Jury
( )       Signed Waiver of Indictment
( )       Advised of rights under Rule 20
( )       Signed Consent to Transfer (Rule 20)
( )       Petition to Enter Plea Filed                     ( )      Plea Agreement Attached
( )       Transferred to:
( )       ARRAIGNMENT AND PLEA:                                                              ( )     No. of Counts:
          ( )      Waived Reading of        ( )     Complaint       ( )     Information      ( )     Read to Defendant
          ( )      Previous Plea            ( )     Guilty          ( )     Not Guilty       Counts:
          ( )      Guilty                                                                    Counts:
          ( )      Not Guilty                                                                Counts:

( )       Bail denied                       (   )    Bail fixed at                             ( )   Bail remain at
( )       $                                 (   )    Unsecured                                 ( )   Secured
( )       Remain on release                 (   )    Executed                                  ( )   Continued in effect
(X )      Deft. remanded to custody         (   )    Pending compliance with conditions of release
(X )      Temporary Detention Ordered


Deft's next appearance: Preliminary and Detention hearing set September 26, 2019 at 1:30 PM with Judge Angel D. Mitchell in
Topeka, Kansas.

Miscellaneous:
